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Place of Confinement heey
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
__ JOSEPH _L. Mezont
Plaintiff , 3:15-cv-00499
VS. CASE NO.
(To be supplied by the Clerk)
OTR OF NEVA EX. REL- NEVAD4 DEDeIMENT
OF Comteriions ET.AL. VNie (Smt, CIVIL RIGHTS COMPLAINT

PURSUANT TO

PY ND LT Bea, SWAN MS LD? Wiis, PURSUANT TO 42 U.S.C. § 1983
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A. JURISDICTION
1) This complaint alleges that the civil rights of
Plaintiff, JOSEPH Lif Vir ZZONE
(print Plaintiffs name)

who presently resides as

(mailing address or place of confinement)
violated by the actions of the below named individuals which were directed against

: , were

 
   

Plaintiff at Nip on the following dates

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Bednnt 32815 ToS 2-15 TD, an ISP
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(Count 1) (Count 2) (Count 3)

Cr)

(institution/city where violation occurred)
Case 3:15-cv-00499-MMD-WGC Document 5 Filed 03/02/16 Page 2 of 22 (5)

Make a copy of this page to provide the below
information if you are naming more then five (5) defendants

1\@ Defendant__(Mg_(, SmITH resides at NCC Pati Pofhy 1@DAtmC ly WV 7D} eso
(full name of second defendant) (address of second defendant) ‘

and is employed as _{ orzliow!) Obes tr (NO) , This defendant is sued inGiVher
defendant's position and title, if any)

4 _v_individual __V official capacity. (Check one or both). Explain how this defendant was
acting

under color of law: He word a6 @ Curedionol Offer ot NNCLORIS A URIS hod

 

 

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2) ® Defendant resides at RIN-C PAina fi ft Ca 8471-tep
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and is employed as LT (WZ) HEMNOOFE eH) ———_, This defendant is sued in(hidher
(defendant's position and title, if any)

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3) @Defendant__MS LDA walsh resides eee nay wr
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4> 49 Defendant__(R Pach resides at et RTS Ooo Zon th ii, i FD 70
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AE NL RiP (2°)
 

 

 

6) Defendant_(ViQ_ (‘0X resides at fa, ote ee se Ol DY 2
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under color of law Aclne Owed OF Nasi beh Forno ore wis mpenebh (Bcf

 

7) Jurisdiction is invoked pursuant to 42 U.S.C. § 1343 (a) and 42 U.S.C. § 1983. If you wish to
assert jurisdiction under different or additional statutes, list them below.

 
      

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temnal CONG poet) B. NATURE OF THE CASE

1) Briefly state the background of your case.

3) i 242 USC Came

 

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C. CAUSE OF ACTION @)
COUNT I
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Supporting Fact: [ Include ail facts you consider important. State the facts clearly,
in your own words, and without citing legal authority or argument. Be sure you
describe exactly what each specific defendant (by name) did to violate your rights J.

 

 

 

 

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Case 3:15-cv-00499-MMD-WGC Document 5 Filed 03/02/16 Page 12 of 22
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COUNT I

The following civil rights have been violated: Bovindinl 8 -Eyessee Boe! hel rot be

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Case 3:15-cv-00499-MMD-WGC Document 5 Filed 03/02/16 Page 14 of 22
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COUNT III

The following civil rights have been violated: Andel I A oo ham w* nedaelzed

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Rog ng dupe 4) i y 9 Wve veces of ear ch f hoary Person
Mo Cdn i eres ae hl you S onsidet important. State the facts clearly,
in your own words, and without citing legal authority or argument. Be sure you
describe exactly what each specific defendant (by vee) did to violate your rights ].
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D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

Have you filed other actions in stfte or federal court involving the same or similar facts
as involved in this action? es__No. If the answer is "Yes", describe each lawsuit.
(If more than one, describe the others on an additional page following the below outline)

a) Defendants: Te sok uF Mtv in el to Gpoe) sacred, Payot Pat
b) Sil VD 8b LRH wee

Name of court and docket number:_#? .j-I(- EL/-
c) Disposition (for example oa the case se dismissed, appealed or is it still pending?):

d)

 

 

 

 

 

e) Approximate date it was filed: Thou 22, Zett
f) Approximate date of disposition: __ Jan - 20s
Have you filed an action in federal court that was dismissed because it was determined to

be frivolous, malicious, or failed to state a claim upon which relief could be granted?
WA es__No. If your answer is "Yes", describe each lawsuit. (If you have had more
than three actions dismissed based on the above reasons, describe the others on an
additional page following the below outline).

Lawsuit #1 dismissed as frivolous, malicious, or failed to state a claim:

a) Defendants: WI Mfawyelal ab fy Deiat

b) Name ofcourt and case number: #_3/07-CV-QUD9

 

c) The case was dismissed because it was found to be (check one): V frivolous:

malicious or failed to state a claim upon which relief could be granted

d)... Issued raised: SEY SO 6% SM od U4 Daynh Jo Wicd

 

e) Approximate date it was filed: Q -1-06
f) Approximate date of disposition: b-6-97
Lawsuit #2 dismissed as frivolous, malicious, or failed to state a claim:

a) Defendants:

 

b) Name of court and case number:

 
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c) The case was dismissed because it was found to be (check one): frivolous:

malicious or failed to state a claim upon which relief could be granted

d) Issued raised:

 

 

e) Approximate date it was filed:

 

f) Approximate date of disposition:

 

Lawsuit #3 dismissed as frivolous, malicious, or failed to state a claim:

a) Defendants:

 

b) Name of court and case number:

 

c) The case was dismissed because it was found to be (check one): frivolous:

malicious or failed to state a claim upon which relief could be granted
d) Issued raised:

 

 

e) Approximate date it was filed:

 

f) Approximate date of disposition:

 

3) Have you attempted to resolve the dispute stated in this action by seeking relief from the
proper administrative officials, e.g., have you exhausted available administrative
. ‘grievance procedures? VW es___No. If your answer is "No", did you not attempt
administrative relief because the dispute involved the validity ofa(1) ___ disciplinary
hearing; (2) ___ state or federal court decision; (3) __ state or federal law or regulation;
(4) parole board decision; or (5) _ other
If your answer is "yes", provide the following information. Grievance Number # ad-19- bts

Date and institution where grievance was fi Neo Lad al Si tat od bets

 

Response to grievance: AY

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E. REQUEST FOR RELIEF
I believe that I am entitled to the following relief:

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2) Pudye bf 65ex,020 Has oblos

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I understand that a false statement or answer to any question in this declaration will
subject me to penalties of perjury. I DECLARE UNDER PENALTY OF PERJURY
UNDER THE LAWS OF THE UNITED STATES OF AMERICA THAT THE
FOREGOING IS TRUE AND CORRECT. See 28 U.S.C. § 1746 and 18 U.S.C. § 1621.

 

 

    

ts Seif
(Name of person who prepared of helped
prepare this complaint if not Plaintiff)

of Plaintiff)

9-fo-15

(Date)

 

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CERTIFICATE OF SERVICE BY MAIL
Pursuant to N.R.C.P. Rule 5 (b), I hereby certify that I am the petitioner\Defendant named

herein and that on this _ q" day of Seoloubee 20/5, 1 mailed a true a correct copy

of the foregoing document to the following:

dD

P: Cleo VS WT Cart a-
Dist af Méada-

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Reo, Maeudg 35450]

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NEVADA DEPARTMENT OF CORRECTIONS
SECOND LEVEL GRIEVANCE
name: 5 ERC L. IzZouT ip.numBer: 655 YY
institution:_ VAC. 2 Deen unr 77KB GZ
| REQUEST THE REVIEW OF THE GRIEVANCE, LOG NUMBER , ON THE

 

SECOND LEVEL. THE ORIGINAL COPY OF MY GRIEVANCE AND ALL SUPPORTING DOCUMENTATION
IS ATTACHED FOR REVIEW.

SWORN DECLARATION UNDER PENALTY OF PERJURY

 

 

 

 

INMATE SIGNATURE: —. I seed) dk Me . DATE: b-/ Z AS
WHY DISAGREE: Babel Dt a |)Miggnn, Annee! m 20 5jAAS

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GRIEVANCE COORDINATOR SIGNATURE: DC ft at DATE: ( Hf 3

 

 

 

 

 

 

 

 

 

 
   
  

SECOND LEVEL RESPONSE:
____ GRIEVANCE UPHELD GRIEVANCE DENIED____ ISSUE NOT GRIEVABLE PER AR 740
SIGNATURE: TITLE: CATE|__

GRIEVANCE COORDINATOR SIGNAT —_ DATE: “peli l

pate: 7227-4 _

INMATE SIGNATURE:

 

HIS ENDS PHE FORMAL GRIEVANCE PROCESS

Original: To inmate when complete, or attached te formal grievance
Canary: To Grievance Coordinator

Pink: inmate's receipt when formal grievance filed

Gold. Inmate's initial receipt

DOC 3094 (12/01)
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NEVADA DEPARTMENT OF CORRECTIONS
GRIEVANT’S STATEMENT CONTINUATION FORM

NAME: < pe Nizzan LD. NUMBER: 665%
institution NNG (Vrin UNIT#: — J -f-62Z

 

GRIEVANCE #: 200b-24-19¢75 GRIEVANCE LEVEL: qe -—

GRIEVANT’S STATEMENT CONTINUATION: PG. 2 OF

 
    

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Original: Attached to Grievance
Pink: Inmate’s Copy

 

 

DOC — 3097 (01/02)
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NEVADA DEPARTMENT OF CORRECTIONS

 

MEMORANDUM
TO: Mizzoni, Joseph 68549
FROM: Lisa Walsh, AWP/NNCC

 

DATE: 7/8/2015

SUBJECT: Improper Grievance #: 20062999675
The attached grievance is being returned to you for the following reason(s):

[_JNon-Grievable issue:
(_]State and Federal court decisions
[_|State, Federal, and local laws and regulations
(_ Parole Board Decisions
[_]Lacks Standing

[_jUntimely submission
[_JNo remedy noted

[Abuse of Inmate Grievance Procedure
[_JAny language, writing or illustration deemed to be obscene, profane, or
derogatory
(JA threat of serious bodily injury to a specific individual
(_]Specific claims or incidents previously filed by the same inmate
(_}More than four (4) unfounded, frivolous or vexatious grievances per month
[_}Allegations proven to be false

(|The grievance contains more than one incident, issue, etc.

(XJOther; Specify:__3098 — You must attach the Informal and First Level of this
grievance.

 

 

 

 

You may resubmit your grievance after correcting the above deficiencies. Failure to re-
submit the grievance through the prescribed timeframe shall constitute abandonment.

afl pf aM Inmate Signature Date:

Ce: Original — Inmate Copy — Grievance File

 

DOC-3098 (10/03)

 
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INMATE REQUEST FORM

 

 

 

 

 

 

 

 

 

 

1) INMATE NAME DOC # 2.) HOUSING UNIT 3.) DATE

i 47 7-86-62 ¥-SA5
4) REQUEST FORM TO: (CHECK BOX) ___ MENTAL HEALTH __ CANTEEN
___ CASEWORKER __ MEDICAL __ LAWLIBRARY __ DENTAL
___ EDUCATION __ VISITING ___ SHIFT COMMAND
___ LAUNDRY ___ PROPERTY ROOM voftier

ot FH ee

5) NAME OF INDIVIDUAL TO contact _MS WALSH Merc Re i olf Velo os gis pietwes
6) REQUEST (PRINT BELOW) MAM an in 7-B-82 T went fo & Herein mm &-4¥-

  
 

 

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7.) INMATE SIGNAT! RE f

 

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Yikes
8) RECEIVING STAFF CAAT RE HV

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9} RESPONSE TO INMATE

DATE

 

 

 

 

 

 

 

 

 

10.) RESPONDING STAFF SIGNATURE Au LU \. . DATE lL a

DOC - 3012 (REV 7/01)
